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 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,              No. SA CR 16-36-JLS
13
               Plaintiff,                   GOVERNMENT’S EXHIBIT LIST
14
                     v.
15                                          Trial Date:    June 19, 2018
     NIKISHNA POLEQUAPTEWA,                 Trial Time:    8:30 a.m.
16
               Defendant.
17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California hereby submits the attached list of exhibits.
21        The government does not intend to introduce certain exhibits,
22   including declarations and reports of investigation, but has them
23   available to refresh its witnesses’ recollection if necessary.
24   Certain exhibit numbers have been intentionally left blank.
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 1        The government reserves the right to modify this list,

 2   including removing or adding exhibits before and throughout the

 3   trial.   The government intends to use demonstrative aids and summary

 4   charts which are currently being prepared.         The government will

 5   produce such items and file a revised exhibit list with any

 6   modifications.

 7   Dated: June 4, 2018                 Respectfully submitted,

 8                                       NICOLA T. HANNA
                                         United States Attorney
 9
                                         DENNISE WILLETT
10                                       Assistant United States Attorney
                                         Chief, Santa Ana Branch Office
11

12                                        /s/
                                         VIBHAV MITTAL
13                                       BRADLEY E. MARRETT
                                         Assistant United States Attorneys
14
                                         Attorneys for Plaintiff
15                                       UNITED STATES OF AMERICA

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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 3 of 12 Page ID #:503
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Letters, Emails, and Interview Reports
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   1.   Defendant’s March 3, 2014,
          Termination Letter from UCI
 5
     2.   Defendant’s March 14, 2014, Email
 6        to Jaime Fullmer
 7   3.   Defendant’s Redacted Resume
 8
     4.   Defendant’s Unredacted Resume
 9
     5.   Defendant’s April 10, 2014, NDA
10
     6.   Defendant’s April 16, 2014,
11        Employment Agreement
12
     7.   January 21, 2015, Letter to
13        Defendant’s Wife

14   8.   January 21, 2015, Letter to
          Defendant
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16   9.   March 13, 2015 Proffer Letter
     10. March 13, 2015 FD-302
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 4 of 12 Page ID #:504
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Letters, Emails, and Interview Reports (continued)
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   11. September 10, 2015 FD-302
     12. Defendant’s December 15, 2014,
 5       Email to SA Munoz
 6
     13. Defendant’s August 20, 2014, Self-
 7       Appraisal Form

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 9   15.

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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 5 of 12 Page ID #:505
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Records Related to MacBook Pro
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   19. June 19, 2012, Receipt for
         Purchase of MacBook Air
 5
     20. July 9, 2012, Receipt for Purchase
 6       of MacBook Pro
 7   21. Comcast Subscriber Information for
 8       IP Address 50.205.50.98

 9   22. Apple Subscriber Information for
         Defendant
10
     23. Apple Record Showing Defendant’s
11       Initiation of Wipe Commands
12
     24. Apple Record – GCRM
13   25. Apple Record – iTunes Subscriber
14   26. Apple Record – iTunes Update
15   27. Apple Record – iDMS Signons

16   28. Apple Record – My Apple ID and
         iForgot
17
     29. Apple Record – Account Key
18
     30. Mac Pro Receipts from Blue Stone
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 6 of 12 Page ID #:506
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Records Related to MacBook Pro (continued)
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   31. Firefox Log Files Showing Use of
         Google Account and Amy Watson’s
 5       Account

 6   32. Recent Items PLIST File Showing
         Access of Synology Server
 7

 8   33. Safari PLIST File Showing
         Defendant’s Web Searches
 9
     34. Safari Services PLIST File Showing
10       Defendant’s Web Use
11   35. Email from Defendant Re:
12       JGoodman’s Synology Login
         Information
13
     36. Email from Yacobi to Defendant Re:
14       Email login questions
15   37. System Log File Showing Synology
16       Server Access

17   38. SessionStore.JS File Showing
         Synology Server Access
18
     39. Chrome Login Data-journal File
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20   40. Email to Defendant Re: MailChimp
         List Export Complete
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 7 of 12 Page ID #:507
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Records Related to MacBook Pro (continued)
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   41. Safari Cache Showing Deletion of
         RMooers From WordPress
 5
     42. Safari Cache Showing Deletions of
 6       11 Users from WordPress
 7   43. Safari Cache Showing Deletions of
 8       12 Users from WordPress

 9   44. Safari Cache Showing Login to
         Bluehost
10
     45. Downloaded Zip File with Website
11       Contents
12
     46. Trashed Item – Zip File
13   47. November 17, 2014, Email to
14       Defendant from Christopher Irwin
         Re: Blue Stone email account
15
     48. November 18, 2014, Email from Amy
16       Watson to Defendant Re: Blue Stone
         email account
17

18   49. November 18, 2014, Email from
         Defendant to Amy Watson and John
19       Mooers Re: CRM

20   50. November 18, 2014, Email from
         Defendant to Amy Watson and John
21       Mooers Re: Google Apps Admin
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 8 of 12 Page ID #:508
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Records Related to MacBook Pro (continued)
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   51. November 18, 2014, Email from
         Defendant to Amy Watson Re:
 5       Google Apps Admin

 6   52. November 14, 2014, Email from Cox
         Business to Defendant Re: Reset
 7       Cox “My Account” Password
 8
     53. Chain of Custody Records for
 9       MacBook Pro

10   54. Summary Chart Re: Time
         Conversions and Last Accessed
11

12   55. MailChimp Record Re: Name and
         Address
13
     56. MailChimp Record Re: Payment
14       Details
15   57. MailChimp Log Files Showing
16       November 2014

17   58. MailChimp Record Showing Account
         Activity
18
     59. MailChimp Log Files Showing
19       Exports on November 17, 2014
20
     60. MailChimp Log Files Showing
21       Deletions on November 18, 2014

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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 9 of 12 Page ID #:509
                         United States v. Polequaptewa,
              Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Records Related to Google, Verizon, and IP Addresses
 2
     No. Description of Exhibit                   Date       Date     Witness
 3                                                Identified Admitted
 4   61. Defendant’s Google Logins

 5   62. Verizon Records Showing
         Defendant’s Phone’s Use
 6
     63. Central Ops Record for IP Address
 7       198.72.7.23
 8
     64. ARIN Record for IP Address
 9       198.72.7.23

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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 10 of 12 Page ID #:510
                          United States v. Polequaptewa,
               Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Blue Stone Provided Records
 2
     No. Description of Exhibit                    Date       Date     Witness
 3                                                 Identified Admitted
 4   66. Excerpt of Video Taken on
         November 19, 2014, of Defendant
 5       Admitting to Deleting Blue
         Stone’s Files
 6
     66A. Transcript of Excerpt of Video
 7        Taken on November 19, 2014, of
 8        Defendant Admitting to Deleting
          Blue Stone’s Files
 9
     67. Security Breach Report
10
     68. Defendant Deleted 111 Files from
11       Google Account

12   69. Defendant’s Logins to Google
         Account
13

14   70. Defendant’s Locations When
         Accessing Google Account
15
     71. Log Showing Defendant Accessing
16       Server from Florida
17   72. Log Showing Bill Moon Folder
18   73. Log Showing Bill Moon Folder
         Being Accessed from Florida
19

20   74. Log Showing Accesses After
         Defendant’s Password Changed
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     75. GeoMapLookup for IP Address
22       198.72.7.73
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 11 of 12 Page ID #:511
                          United States v. Polequaptewa,
               Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   Blue Stone Provided Records (continued)
 2
     No. Description of Exhibit                    Date       Date     Witness
 3                                                 Identified Admitted
 4   76. Defendant’s Recycle Folder
     77. MailChimp Bills
 5
     78. Mountain View Media Bills
 6
     79. Runner Boys Bills
 7
     80. Whole Product Marketing Bills
 8   81. Conference-Related Bills
 9   82. Locksmith Bill

10   83. Defendant’s Form W-2
     84. Personnel Expenses
11
     85. EBlasts
12
     86. Revenue Breakdown by Year
13
     87. Items Deleted by Defendant from
14       Google Drive

15   88. Summary Chart of Bluehost Data
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     Case 8:16-cr-00036-CJC Document 50 Filed 06/04/18 Page 12 of 12 Page ID #:512
                          United States v. Polequaptewa,
               Case No. SA CR 16-36-CJC, Trial Date: June 19, 2018
 1   MacPro Related Records
 2
     No. Description of Exhibit                    Date       Date     Witness
 3                                                 Identified Admitted
 4   89. Chain of Custody Records Related
         to MacPro
 5   90. TFO Mikel’s Analysis of Blue
         Stone’s MacPro
 6
     91. Photos of MacPro
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     93.
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